Case 19-05823-LA7 Filed 10/15/19 Entered 10/16/19 14:56:51 Doc9 Pg.1of 43

CSD 1099 [07/01/18]
Name, Address, Telephone No. & 1.D. No.

Darren Williams
1627 Avenida Ladera

 

Ell Cajon, CA 92020 FILED
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CLERE cy co :
SNK :
UNITED STATES BANKRUPTCY COURT U.S. 5 oN OF bkur

SOUTHERN DISTRICT OF CALIFORNIA
325 West F Street, San Diego, California 92101-6991

 

In Re

DARREN WILLIAMS BANKRUPTCY NO. 19-05823-LA7

Debtor.

 

 

BALANCE OF SCHEDULES, STATEMENTS, AND/OR CHAPTER 13 PLAN

Presented are the original with the number of copies required by CSD 1800 Administrative Procedures of the following
[Check one or more boxes as appropriate]:

Schedules A/B - J

Statement of Financial Affairs

Summary of Schedules (Includes Statistical Summary of Certain Liabilities)
Summary of Your Assets and Liabilities and Certain Statistical Information Schedules
Chapter 7 Statement of Current Monthly income

Chapter 7 Statement of Exemption from Presumption of Abuse Under § 707(b)(2)
Chapter 7 Means Test Calculation

Chapter 11 Statement of Your Current Monthly Income

Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period
Chapter 13 Calculation of Your Disposable Income

Chapter 13 Plan

Schedule of Real and/or Personal Property

Schedule of Property Claimed Exempt

Creditors Holding Secured Claims by Property

Creditors Holding Unsecured Priority and/or Non-priority Claims:

Schedule of Executory Contracts & Unexpired Leases

Schedule of Co-Debtors

Income of Individual Debtor(s)

Expenses of Individual Debtor(s)

Expenses for Separate Household of Debtor 2

OOOODOOOOOOOOODOOSOSSSN

If additional creditors are added at this time, the following are required:

1. Electronic media required, see CSD 1007, containing only the added names and addresses (when the Balance of
Schedules are filed on paper).

2. Local Form CSD 1101, Notice to Creditors of This Debtor,
instructions on reverse side.

Dated: 10/14/2019 Signed:

  
 

dded
CAN J

_ LAllfr>A— Attorney for Debtor /”AW//FE-
[We] Darreb Williams and XXXXXXXXXXXXXXXXXXXXXXXXXXXX | the debtor(s), hereby declare

under penalty of perjury thatttfe information set forth in the balance of schedules and/or chapter 13 plan attached hereto,
consisting of pages/and on thg creditor matrix, if any, is true and correct.

Dated: 10/14/2019 tJ, by Mie!

? *Debtor- Aer Wl * Joint Debtor

* if filed electronically, pursuant to LBR 5005-4(C), the original debtor signature(s) in a scanned format is required.

   
 

py Amendment or Balance of Schedules. See

 

 

  
    

 

CSD 1099 Refer to Instructions on Reverse Side

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INSTRUCTIONS

Local Form CSD 1101, Notice to Creditors of The Above-Named Debtor Added by Amendment or Balance of
Schedules, may be used to notify any added entity. When applicable, copies of the following notices must accompany
the notice: Order for and Notice of Section 341(a) Meeting, Discharge of Debtor, Notice of Order Confirming Plan,
and Proof of Claim.

2. If not filed previously and this is an ECF case, the Declaration Re: Electronic Filing of Petition, Schedules &
Statements (Local Form CSD 1801) must be filed in accordance with LBR 5005-4(c).
3. If this is a Chapter 11 case, each member of any committee appointed must be served this Balance of Schedules.
PROOF OF SERVICE

|, whose address appears below, certify:
That | am, and at all relevant times was, more than 18 years of age;

| served a true copy of this Balance of Schedules and/or Chapter 13 Plan on the following persons listed below
by the mode of service shown below:

1. To Be Served by the Court via Notice of Electronic Filing (“NEF”):

Under controlling Local Bankruptcy Rules(s) (“LBR”), the document(s) listed above will be served by the court
via NEF and hyperlink to the document. On , | checked the CM/ECF docket for this
bankruptcy case or adversary proceeding and determined that the following person(s) are on the Electronic Mail Notice
List to receive NEF transmission at the e-mail address(es) indicated and/or as checked below:

CT] Chapter 7 Trustee:

C] For Chpt.7,11,&12cases: [7] For ODD numbered Chapter 13 cases: [_] For EVEN numbered Chapter 13 cases:
UNITED STATES TRUSTEE THOMAS H. BILLINGSLEA, JR., TRUSTEE DAVID L. SKELTON, TRUSTEE
ustp. region’ 5@usdoj.gov Billingslea@thb.coxatwork.com admin@ch13.sdcoxmail.com

dskelton13@ecf.epiqsystems.com

2. Served by United States Mail:

On 10/14/2019 , | served the following person(s) and/or entity(ies) at the last known address(es)
in this bankruptcy case or adversary proceeding by placing accurate copies in a sealed envelope in the United States
Mail via 1) first class, postage prepaid or 2) certified mail with receipt number, addressed as follows:

United States Trustee
880 Front St rm 1234 a
San Diego, CA 92101

Leslie Gladstone, Trustee

401 Via Del Norte
La Jolla, CA 92037

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CSD 1099 (Page 3) [07/01/18]

3. Served by Personal Delivery, Facsimile Transmission, Overnight Delivery, or Electronic Mail:

Under Fed.R.Civ.P.5 and controlling LBR, on . | served the following person(s)

and/or entity(ies) by personal delivery, or (for those who consented in writing to such service method) by facsimile
transmission, by overnight delivery, and/or electronic mail as follows:

| declare under penalty of perjury under the laws of the United States of America that the statements made in this
proof of service are true and correct.

Executedon 10/14/2019 Darren Williams
(Date) (Typed Name and Signature)

 

1627 Avenida Ladera
(Address)

 

El Cajon, CA 92020
(City, State, ZIP Code)

CSD 1099
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Fill in this information to identify your case:

Darren Williams

First Name Middle Name Last Name

Debtor 1

 

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: Southen District of CA

(State)
Case number _19-05823-LA7 QJ Check if this is an

(if known) amended filing

 

 

 

 

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information 12/15

 

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 

a Summarize Your Assets

Your assets
Value of what you own

1. Schedule A/B: Property (Official Form 106A/B) 420.242.00
1a. Copy line 55, Total real estate, from Schedule A/Bo o.oo ccccccceccccceecensevesesccecsevescnscecsecesenssverecasssavecsterecsseverevsneneneeaeens $
1b. Copy line 62, Total personal property, from Schedule A/B o........cccccccccccecsecscesecseseveseseuetensaecarsessesesacessaevsevesvarsreversaeeeeeres $ 4,250.00

 

1c. Copy line 63, Total of all property on Schedule A/B oo.........cccceccccccccccesssecesesssasscessescucsscsevevsteusuersessceetnsssersessssesavasvenatas

| Part 2: | Summarize Your Liabilities

g__ 424,492.00

 

 

 

Your liabilities
Amount you owe

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D............ $___ 490,832.00

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F oo... c.ccccececececstscsteeseeneees

$__—~«.00.

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6] of Schedule E/F............ cece cseeeees + 5 6.365.00

 

 

 

 

 

Your total liabilities $__ 497,197.00
Summarize Your Income and Expenses
4. Schedule |: Your income (Official Form 1061)
Copy your combined monthly income from line 12 of Schedule | o..i........ccccccccccccesesccesessecescescsenevarvevsetacscessnevevarcatettiesavete $___ 1,928.00
5. Schedule J: Your Expenses (Official Form 106J)
Copy your monthly expenses from line 22c of Schedule J o........cccccccccccceccesscececsecsucesccsecsscausessecauessssasessseussvssessessuesssecsseeases $_—s—-2,278.00

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of 2
Case 19-05823-LA7 Filed 10/15/19 Entered 10/16/19 14:56:51 Doc9 Pg. 5o0f43

Debtor 4 Darren Williams Case number (known 19-05823-LA7

 

First Name Middle Name Last Name

 

Ey Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

CI No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

(2 Yes

 

 

_ 7. What kind of debt do you have?

2 Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,

family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

L) Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit

this form to the court with your other schedules.

 

 

 

_ 8. From the Statement of Your Current Monthly Income. Copy your total current monthly income from Official

 

 

 

 

 

 

 

 

Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14. 0.00
9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:
Total claim
From Part 4 on Schedule E/F, copy the following:

9a. Domestic support obligations (Copy line 6a.) $ 0.00

9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $ 0.00

9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $ 0.00

Qd. Student loans. (Copy line 6f.) $ 0.00

9e. Obligations arising out of a separation agreement or divorce that you did not report as $ 0.00

priority claims. (Copy line 6g.)

9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +¢ 0.00

9g. Total. Add lines 9a through 9f. $ 0.00

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 2 of 2

 
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Fill in this information to identify your case and this filing:

 

 

 

Debtor 1 Darren Williams
First Name Middie Name Last Name
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name
United States Bankruptcy Court for the: Southern District of CA

(State)

Case number _19-05823-LA7

 

 

Official Form 106A/B
Schedule A/B: Property

 

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Q) Check if this is an
amended filing

12/15

 

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,

write your name and case number (if known). Answer every question.

a Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

LI No. Go to Part 2.
Yes. Where is the property?
What is the property? Check all that apply.
| Single-family home
11. 1627 Avenida Ladera Q) Duplex or multi-unit building

Street address, if available, or other description
CJ Condominium or cooperative

U Manufactured or mobile home

 

 

 

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

$ 420,242.00 ¢ 420,242.00

Describe the nature of your ownership
interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

Fee Simple

 

 

(J Land
. LJ investment property
El Cajon, CA 92020 CQ Timeshare
City State ZIP Code esna
{) Other
Who has an interest in the property? Check one.
San Diego | Debtor 1 only
County C) Debtor 2 only

(J Debtor 1 and Debtor 2 only
LJ At least one of the debtors and another

CJ Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

If you own or have more than one, list here:
What is the property? Check ali that apply.
Q) Single-family home

1.2. Ll] Duplex or multi-unit building

Street address, if available, or other description

 

LJ Condominium or cooperative
LJ Manufactured or mobile home
Q) Land

C) Investment property

C) Timeshare

C) Other

 

 

City State ZIP Code

 

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

$ $.

Describe the nature of your ownership
interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

 

Who has an interest in the property? Check one.
LJ Debtor 1 only
County CL) Debtor 2 only

C) Debtor 1 and Debtor 2 only
LL} At least one of the debtors and another

 

) Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

Official Form 106A/B Schedule A/B: Property

page 1
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Darren Williams

First Name Middle Name

Debtor 14

1.3.

Last Name

 

Street address, if available, or other description

 

 

 

CI Land $ $
() investment property

City State ZIPCode (J) Timeshare Describe the nature of your ownership

interest (such as fee simple, tenancy by

Q) other the entireties, or a life estate), if known.
Who has an interest in the property? Check one.
LJ Debtor 1 only

County
L) Debtor 2 only
L) Debtor 1 and Debtor 2 only O Check if this is community property
() At least one of the debtors and another (see instructions)
Other information you wish to add about this item, such as local
property identification number:

2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages $ 420,242.00
you have attached for Part 1. Write that number here. ..................::00ccccccceccceeeeneeecaeeccueeeeeesaeeesseeeeseeeaeeeeaeeeaeeneas > re

ae Describe Your Vehicles

What is the property? Check ali that apply.
LJ) Single-family home

Q Duplex or multi-unit building

UL) Condominium or cooperative

CY Manufactured or mobile home

 

Case number ¢if known). 19-05823-LA7

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

 

 

 

 

 

 

 

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

Wf No

CU Yes

3.1. Make:
Model:
Year:

Approximate mileage:

Other information:

 

 

 

 

If you own or have more than one, describe here:

3.2. Make:
Model:
Year:
Approximate mileage:

Other information:

 

 

 

 

Official Form 106A/B

Who has an interest in the property? Check one.
LY Debtor 1 only

C) Debtor 2 only

LJ Debtor 1 and Debtor 2 only

(J At least one of the debtors and another

() Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

U) Debtor 1 only

LJ Debtor 2 only

CJ Debtor 1 and Debtor 2 only

(J At least one of the debtors and another

L) Check if this is community property (see
instructions)

Schedule A/B: Property

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

page 2
Case 19-05823-LA7

 

Who has an interest in the property? Check one.

Debtor 1 Darren Williams
First Name Middle Name
3.3. Make:
Model: (J Debtor 4 only
(J Debtor 2 ont
Year: y

Approximate mileage:

Other information:

 

 

 

 

3.4. Make:
Model:
Year:
Approximate mileage:

Other information:

 

 

 

 

CJ Debtor 1 and Debtor 2 only
CJ At least one of the debtors and another

L) Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

U) Debtor 1 only

LJ Debtor 2 only

C} Debtor 1 and Debtor 2 only

() at least one of the debtors and another

(] Check if this is community property (see
instructions)

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Case number (if known) 19-05823-LA7

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

W No

LI Yes

4.1. Make:
Model:
Year:

Other information:

 

 

 

 

If you own or have more than one, list here:

4.2. Make:
Model:
Year:

Other information:

 

 

 

 

5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
you have attached for Part 2. Write that number here

Official Form 106A/B

Who has an interest in the property? Check one.

CJ Debtor 1 only

L} Debtor 2 only

(J Debtor 1 and Debtor 2 only

LL} At least one of the debtors and another

L) Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

LJ Debtor 1 only

C) Debtor 2 only

(J Debtor 1 and Debtor 2 only

(} At least one of the debtors and another

L.) Check if this is community property (see
instructions)

Schedule A/B: Property

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

 

 

 

 

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Darren Williams

First Name Middle Name

Debtor 1

 

Last Name

Describe Your Personal and Household Items

Case number (itinown_19-05823-LA7

 

Do you own or have any legal or equitable interest in any of the following items?

6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware

No po : or
A Yes. Describe... Major appliances, furniture

t

7. Electronics

Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games

L) No

Current value of the
portion you own?

Do not deduct secured claims
or exemptions.

§ 2,700.00

 

Yes. Describe..........

}

$ 500.00

 

 

8. Collectibles of value

Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
Jf stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
No

 

CD Yes. Describe.........

 

$ 0.00

 

 

9. Equipment for sports and hobbies

Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments
wf No

 

O) Yes. Describe. .........,

$ 0.00

 

 

10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment
No

 

C) Yes. Describe. ..........

 

$ 0.00

 

 

 

 

11.Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

 

C] No A
Wf Yes. Describe... Vlotnes

I

$ 500.00

 

 

12. Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,

 

gold, silver
rs) No
UL] Yes. Describe. ......... |

$ 0.00

 

 

13. Non-farm animals
Examples: Dogs, cats, birds, horses

4 No

 

UI Yes. Describe..........

 

 

$__________—-0.00

 

14. Any other personal and household items you did not already list, including any health aids you did not list

Z no

 

LL] Yes. Give specific
information...............

 

$ 0.00

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
for Part 3. Write that mumber Mere oo. ccc css esses essessessesesscssessesssessscuseneanssscsecsucsecsseseesecsearqresaeasecatsneeessnsenseeeeesieensers

Official Form 106A/B Schedule A/B: Property

 

$ 3,700.00

 

 

page 4

 
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Debtor 1 Darren Williams Case number (irknown_19-05823-LA7
First Name Middle Name Last Name
| part «: Your Financial Assets
Do you own or have any legal or equitable interest in any of the following? Current value of the

portion you own?

Do not deduct secured claims
or exemptions.

16.Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
L) No
AM Yes. cssnssntstntretanntntvesanninivenannintingetststetisisiniceinintreensisnnireiastseietenenaeee Cash: $ 50.00

17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions. If you have multiple accounts with the same institution, list each.

VOS eee Institution name:

17.1. Checking account: Chase §00.00

17.2. Checking account:

 

17.3. Savings account:

 

17.4. Savings account:

 

17.5. Certificates of deposit:

 

17.6. Other financial account:

 

17.7. Other financial account:

 

17.8. Other financial account:

 

17.9. Other financial account:

 

Fr FP fF fF F F FH FH HF

18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts

WD No

CQ) Yes. Institution or issuer name:

 

 

 

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture

 

Pf No Name of entity: % of ownership:
CL) Yes. Give specific %
information about
them. «0.0.0... %

 

%

 

Official Form 106A/B Schedule A/B: Property page 5
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Debtor 4 Darren Williams

Case number (i known) 19-05823-LA7

 

 

First Name Middie Name

Last Name

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

Wi No

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Q) Yes. Give specific Issuer name:
information about
Ce $
$
$
21. Retirement or pension accounts
Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
wi No
LJ Yes. List each
account separately.. Type of account: Institution name:
401 (k) or similar plan: $
Pension plan: $
IRA: $
Retirement account: $
Keogh: $.
Additional account: $
Additional account: $
22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
companies, or others
Z No
OD Yes... Institution name or individual:
Electric: $
Gas: $
Heating oil: $
Security deposit on rental unit: $
Prepaid rent: $
Telephone: $
Water: $
Rented furniture: $
Other: $
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
| No
1 Issuer name and description:
$
$
$

 

Official Form 106A/B

Schedule A/B: Property

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Debtor 1 Darren Williams Case number (if known), 19-05823-LA7

First Name Middie Name Last Name

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

Wf No

DYES ne snnnneninnne Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

 

 

 

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

Wi No

C3 Yes. Give specific
information about them. .. $

 

 

 

 

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples. internet domain names, websites, proceeds from royalties and licensing agreements

WJ No

CL) Yes. Give specific
information about them. .. $
{

 

 

 

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

WZ No

C) Yes. Give specific
information about them. .. | $

 

 

 

Money or property owed to you? Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

28. Tax refunds owed to you

Q No

 

LI} Yes. Give specific information Federal:
about them, including whether :
you already filed the returns State:
and the tax years. 00... i
| Local:

 

 

29. Family support
Examples: Past due or jump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

4 No

 

 

 

 

Q) Yes. Give specific information..............
i Alimony: $
Maintenance: $
Support: $
Divorce settlement: $.
{
Property settlement: $

30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpaid loans you made to someone else

wf No

C) Yes. Give specific information. ..............
i $

Official Form 106A/B Schedule A/B: Property page 7
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Debtor 1 Darren Williams Case number (known _19-05823-LA7

First Name Middle Name Last Name

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance

No

LJ Yes. Name the insurance company Company name: Beneficiary:
of each policy and list its value. ...

Surrender or refund value:

 

 

 

32. Any interest in property that is due you from someone who has died
If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.

No

 

L) Yes. Give specific information..........

 

 

 

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

Zi No

 

CJ Yes. Describe each claim...

 

 

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims

Q No

 

L} Yes. Describe each Claim...

 

 

 

35. Any financial assets you did not already list

 

W No

LI Yes. Give specific information............

 

 

36. Add the doilar value of all of your entries from Part 4, including any entries for pages you have attached

for Part 4. Write that mumber Were ooo. ccccccececcsssesesssssessssvesssseuessssnvsssssivusssusesesusesersesessnssessssnipsessusvessesivtsearuiessanesessaseee »>

 

5 550.00

 

 

 

Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 

37.Do you own or have any legal or equitable interest in any business-related property?
a No. Go to Part 6.
CL) Yes. Go to line 38.

38. Accounts receivable or commissions you already earned

C} No

 

LJ Yes. Describe.......

 

 

 

39. Office equipment, furnishings, and supplies

Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

C) No

 

Q) Yes. Describe........

 

 

 

Official Form 106A/B Schedule A/B: Property

Current value of the
portion you own?

Do not deduct secured claims
or exemptions.

page 8
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Debtor 1 Darren Williams Case number (irknown_19-05823-LA7

First Name Middle Name Last Name

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

 

 

 

 

lL} No

UL) Yes. Describe...... 5
41. Inventory

C} No 1

C] Yes. Describe....... s

 

 

42. Interests in partnerships or joint ventures

L No

Q) Yes. Describe....... Name of entity: % of ownership:
% $
% $.
% $

 

 

 

43. Customer lists, mailing lists, or other compilations
CJ No
C) Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
UL No
LJ Yes. Describe.........

 

 

 

 

44. Any business-related property you did not already list
CL) No
L) Yes. Give specific

 

information .........

 

 

 

Pr F# Ff Ff Ff

 

 

45. Add the doilar value of all of your entries from Part 5, including any entries for pages you have attached $
for Part 5. Write that mumber Were o.oo cesses ssssssessstesussssobesussessisesstessnstssanneestevssecsunesseraeqnneveunsessiecesevecenivstsseeanucesserseave >

 

 

 

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.

 

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
No. Go to Part 7.
L) Yes. Go to line 47.
Current value of the
portion you own?
Do not deduct secured claims

 

or exemptions.
47. Farm animals
Examples: Livestock, poultry, farm-raised fish
LJ No
CD Ve8 oon |
i
. $

 

 

Official Form 106A/B Schedule A/B: Property page 9
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Debtor 1 Darren Williams Case number (irknown_19-05823-LA7

First Name Middle Name Last Name

48. Crops—either growing or harvested

LJ No

LJ Yes. Give specific
information. ............ $

 

 

 

 

 

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CJ No
CD Yes.
$
50. Farm and fishing supplies, chemicals, and feed
(No
i /-
$
51. Any farm- and commercial fishing-related property you did not already list
LJ No
LJ Yes. Give specific
information. ............ $
52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $
for Part 6. Write that mumber here occ cccccsnessessesssssesesstvesensavessesesvtesnsussesssistsssunsssssunsasasesssasesesssisssssiveesasaseesaveses >
Describe All Property You Own or Have an Interest in That You Did Not List Above
53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership
Z no
CI Yes. Give specific
information. ............
54. Add the dollar value of ail of your entries from Part 7. Write that muMber Mere oo... ccccceecccssssscsscccssssscessecsssssseceesseseeee > $
List the Totals of Each Part of this Form
55. Part 1: Total real estate, Vime 20 cceccscsssuescssssssseessesssenvsessecesstsssesssssnsssssssusessasasivessessssissssssssstusessssssarivessssisasiesssssisveceeen > $420,242.00
56. Part 2: Total vehicles, line 5 $
57. Part 3: Total personal and household items, line 15 $ 3,700.00
58. Part 4: Total financial assets, line 36 $ 550.00
59. Part 5: Total business-related property, line 45 $
60. Part 6: Total farm- and fishing-related property, line 52 $
61. Part 7: Total other property not listed, line 54 +s
62. Total personal property. Add lines 56 through 61............0....... $ 4,250.00 Copy personal property total > +3 4,250.00
63. Total of all property on Schedule AJB. Add line 55 + lime 62..........cccccccecscssessssecsssesssecesstescsssecssesssessartssssiesesecessceseseesane $ 424,492.00

 

 

 

Official Form 106A/B Schedule A/B: Property page 10
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Fill in this information to identify your case:

Debtor 1 Darren Williams

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the. SOuthern District of CA
(State)

Case number _19-05823-LA7 (J Check if this is an

(if known)

 

amended filing

 

Official Form 106C
Schedule C: The Property You Claim as Exempt 04/16

Be as complete and accurate as possibie. If two married people are filing together, both are equally responsible for supplying correct information.

Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

 

 

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

| Part 4: Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

wi You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
C} You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption.
Schedule A/B
Geceription;  “ouSehold Fumish _- ¢_——2,700.00 gg _2,700.00 ORCOPTosta0tOns}
Line from LJ 100% of fair market value, up to
Schedule A/B: 6 any applicable statutory limit
Secariotion: TV, Computer $ 500.00 gy $ 500.00 “CA CEP TO3-1OIS)
Line from 7 L) 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
. CA CCP 703.140(b)(5)
description: Clothes sg 500.00 Wg 500.00
Line from LJ 100% of fair market value, up to
Schedule A/B: 14 any applicable statutory limit

 

 

3. Are you claiming a homestead exemption of more than $160,375?
(Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
UW No
C) Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

C) No
CL) Yes

Official Form 106C Schedule C: The Property You Claim as Exempt page 1 of __
Case 19-05823-LA7 Filed 10/15/19 Entered 10/16/19 14:56:51 Doc9 Pg. 17 of 43

 

 

 

Official Form 106C

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 4 Darren Williams Case number (known __19-05823-LA7
First Name Middle Name Last Name
Ee Additional Page
Brief description of the property and line Current value of the Amount of the exemption you claim Specific laws that allow exemption
on Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption
Schedule A/B
Brief CA CCP 703.140(b)(5)
description: $ 50.00 Ms 50.00
Line from C) 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief : CA CCP 703.140(b)(5)
description: Checkin $ 500.00 Ws 500.00
Line from LJ 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ Os
Line from CL) 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ Us
Line from C) 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ Us
Line from L) 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $, Os$
Line from () 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ Lis
Line from C) 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ Os
Line from LJ 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ Os
Line from C) 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ Os
Line from L} 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ Os
Line from C) 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ Os
Line from CJ 100% of fair market value, up to
Schedule A/B: any applicable statutory limit

 

Schedule C: The Property You Claim as Exempt page__ of _
Case 19-05823-LA7 Filed 10/15/19 Entered 10/16/19 14:56:51 Doc 9

Fill in this information to identify your case:

DarrenWilliams

First Name

Debtor 1

 

Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name

 

Middle Name Last Name

District of CA
(State)

United States Bankruptcy Court for the: Southern
19-05823-LA7

Case number
(If known)

 

 

Official Form 106D

 

Schedule D: Creditors Who Have Claims Secured by Property

Pg. 18 of 43

L) Check if this is an
amended filing

12/15

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any

additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?

QJ No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.

LJ Yes. Fill in all of the information below.

 

im List All Secured Claims

2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.
As much as possible, list the claims in alphabetical order according to the creditor's name.

[2.4]

Describe the property that secures the claim:

 

Column A Column B Column C
Amount of claim. Value of collateral Unsecured |
Do not deduct the that supports this. portion

value of collateral. claim If any

s___ 490,834.00 s_ 420,242.00 70,592.00

 

 

 

 

 

 

 

Creditors Name Single Family Residence

Shellpoint

Number Street

PO Box 1410 As of the date you file, the claim is: Check all that apply.
C) Contingent

Troy, MI 48099 () unliquidated

City State ZIP Code

Q) Disputed
Who owes the debt? Check one.

a Debtor 1 only

C) Debtor 2 only

C) Debtor 1 and Debtor 2 only

(C} Atleast one of the debtors and another

Nature of lien. Check all that apply.

LJ} An agreement you made (such as mortgage or secured
car loan)

Q Statutory lien (such as tax lien, mechanic's lien)

OQ Judgment lien from a lawsuit

CJ other {including a right to offset)
1 Check if this claim relates to a

community debt

Date debt was incurred 2001 Last 4 digits of account number 3093

 

[2.2 Describe the property that secures the claim:

 

 

Creditor’s Name

 

 

 

 

 

 

Number Street
As of the date you file, the claim is: Check alt that apply.
QO Contingent
OQ) Unliquidated

City State ZIP Code

Q Disputed
Who owes the debt? Check one.

C) Debtor 1 only

QC) Debtor 2 only

Q) Debtor 1 and Debtor 2 only

Q) Atleast one of the debtors and another

Nature of lien. Check all that apply.

QC) An agreement you made (such as mortgage or secured
car Joan)

OQ) Statutory lien (such as tax lien, mechanic’s lien)

Q Judgment lien from a lawsuit

OQ) other (including a right to offset)
CJ Check if this claim relates to a

community debt

Date debt was incurred Last 4 digits of account number

 

 

Add the dollar value of your entries in Column A on this page. Write that number here: s__490,834.00

 

 

Official Form 106D

Schedule D: Creditors Who Have Claims Secured by Property

page 1of_
Case 19-05823-LA7 Filed 10/15/19 Entered 10/16/19 14:56:51 Doc9 Pg. 19 of 43

Fill in this information to identify your case:

Darren Williams

First Name

Debtor 1

 

Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name

 

Middle Name Last Name

District of CA
(State) U) Check if this is an
amended filing

United States Bankruptcy Court for the: Southern

19-05823-LA7

Case number
(if known)

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. \f more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

 

 

 

 

12/15

 

Ea List All of Your PRIORITY Unsecured Claims

 

_ 1. Do any creditors have priority unsecured claims against you?

Wl No. Go to Part 2.
Q) Yes.

2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
unsecured claims, fill out the Continuation Page of Part 1. if more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

 

 

 

 

 

 

 

 

 

 

Total claim: . - Priority Nonpriority —
amount amount ;
2.1
Last4 digits ofaccountnumber 5s —— — —iéSK $ $
Priority Creditor’s Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
City State ZIP Code O) Contingent
; (2 Untiquidatea
Who incurred the debt? Check one. :
Q Disputed
Q) Debtor 1 only
C) Debtor 2 only Type of PRIORITY unsecured claim:
5 Debtor 1 and Debtor 2 only CI Domestic support obligations
Atleast one of the debtors and another () Taxes and certain other debts you owe the government
CJ Check if this claim is for a community debt LJ Claims for death or personal injury while you were
Is the claim subject to offset? intoxicated
O) No QC) other. Specify
O) Yes
ke | Last 4 digits ofaccountnumber ss = og $ $

 

Priority Creditor's Name

 

Number Street

 

 

City State ZIP Code

Who incurred the debt? Check one.

Q) Debtor 1 only

(J Debtor 2 only

Q Debtor 1 and Debtor 2 only

(J At least one of the debtors and another

QO) Check if this claim is for a community debt

Is the claim subject to offset?

C) No
i C2 Yes

 

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.
Q Contingent

C) Untiquidated

Q Disputed

Type of PRIORITY unsecured claim:
QO) Domestic support obligations
UJ Taxes and certain other debts you owe the government

C) Claims for death or personal injury while you were
intoxicated

C) Other. Specify

 

 

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

page 1 of _5_
Debtor 1

Case 19-05823-LA7 Filed 10/15/19 Entered 10/16/19 14:56:51 Doc9 Pg. 20o0f 43

Darren Williams

First Name Middle Name

Last Name

Case number (it known) 19-05823-LA7

Ea Your PRIORITY Unsecured Claims — Continuation Page

 

 

 

 

 

 

Total.claim . Priority

 

 

 

 

 

 

 

 

 

 

 

 

Priority Creditors Name

 

Number Street

 

 

City State ZIP Code

Who incurred the debt? Check one.

Q) Debtor 1 only

(J Debtor 2 only

QJ Debtor 1 and Debtor 2 only

CJ Atieast one of the debtors and another

U Check if this claim is for a community debt

Is the claim subject to offset?

UL No
C) Yes

 

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

 

After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth. Nonpriority |
amount -amount /
; Last4 digits ofaccountnumber § $. $
Priority Creditor’s Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
C) Contingent
City State ZIP Code Q) unliquidated
Q) Disputed
Who incurred the debt? Check one.
C) Debtor 1 only Type of PRIORITY unsecured claim:
Ob ]
ebtor 2 only CO Domestic support obligations
Q) Debtor 1 and Debtor 2 only .
C) Taxes and certain other debts you owe the government
Q Atleast one of the debtors and another . .
Q) Claims for death or personal injury while you were
() Check if this claim is for a community debt intoxicated
QC) other. Specify
Is the claim subject to offset?
QO) No
Q) Yes
Last4digits ofaccountnumber ss = i —‘“s«S $ $
Priority Creditor's Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
L) Contingent
City State ZIP Code Q) unliquidated
Q) Disputed
Who incurred the debt? Check one.
Q) Debtor 1 only Type of PRIORITY unsecured claim:
C) Debtor 2 ont
epror «only QC) Domestic support obligations
Q) Debtor 1 and Debtor 2 only .
CJ Taxes and certain other debts you owe the government
Q) Atleast one of the debtors and another . oe .
CJ Claims for death or personal injury while you were
UC] Check if this claim is for a community debt intoxicated
QO other. Specify
Is the claim subject to offset?
(No
C) ves
Last 4 digits of account number ___ $ $ $.

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

(} Contingent
CO) Unliquidated
(J Disputed

Type of PRIORITY unsecured claim:

Domestic support obligations
Taxes and certain other debts you owe the government

Claims for death or personal injury while you were
intoxicated
Other. Specify

 

O OOO

 

page 2 of 5
Case 19-05823-LA7 Filed 10/15/19 Entered 10/16/19 14:56:51 Doc9 Pg. 210f 43

Debtor 4 Darren Williams

First Name Middle Name Last Name

Ea List All of Your NONPRIORITY Unsecured Claims

Case number (if known) 19-05823-LA7

 

3. Do any creditors have nonpriority unsecured claims against you?

Mi No. You have nothing to report in this part. Submit this form to the court with your other schedules.

Yes

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured

claims fill out the Continuation Page of Part 2.

 

 

 

 

 

 

 

 

 

 

 

 

 

_ Fotal claim
41
a | Last 4 digits of account number __ _
Nonpriority Creditor’s Name $
When was the debt incurred?
Number Street
City State ZIP Code As of the date you file, the claim is: Check ail that apply.
Q Contingent
Who incurred the debt? Check one. OQ) unliquidated :
C Debtor 4 only U Disputed
Q) Debtor 2 only
Q) Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
C) At least one of the debtors and another Q Student loans
OQ) Check if this claim is for a community debt O Obligations arising out of a separation agreement or divorce
that you did not report as priority claims ‘
Is the claim subject to offset? C) Debts to pension or profit-sharing plans, and other similar debts
QO) No QO) other. Specify
Q) Yes
4.2 Last 4 digits of accountnumber $
Nonpriority Creditors Name When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
City State ZIP Code O Contingent
Who incurred the debt? Check one. Q1 unliquidated
C) Debtor 4 only Q) Disputed
C) Debtor 2 only |
2 Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
CJ At least one of the debtors and another Q) Student loans
Q ean: a . Q Obligations arising out of a separation agreement or divorce
Check if this claim is for a community debt that you did not report as priority claims
Is the claim subject to offset? C1 Debts to pension or profit-sharing plans, and other similar debts
(2 No C] Other. Specify
U ves
4.3 _
Last 4 digits ofaccountnumber 5

 

 

 

Nonpriority Creditor’s Name

 

Number Street

 

City State ZIP Code

Who incurred the debt? Check one.

C2 Debtor 1 only

CJ Debtor 2 only

Q) Debtor 1 and Debtor 2 only

CJ Atleast one of the debtors and another

 

Q) Check if this claim is for a community debt

Is the claim subject to offset?
QI No
} Q Yes

 

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

When was the debt incurred?

As of the date you file, the claim is: Check ail that apply.

Q Contingent
Q) unliquidated
Q Disputed

Type of NONPRIORITY unsecured claim:

CQ) Student loans

Q Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

Debts to pension or profit-sharing plans, and other similar debts

QC) other. Specify

 

 

page 3 of &

 
Case 19-05823-LA7 Filed 10/15/19 Entered 10/16/19 14:56:51 Doc9 Pg. 22 of 43
Debtor 1 Darren Williams Case number (i known)_19-05823-LA7

First Name Middie Name Last Name

 

| part: I Others to Be Notified About a Debt That You Already Listed

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

On which entry in Part 1 or Part 2 did you list the original creditor?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name
Line of (Check one): 2 Part 1: Creditors with Priority Unsecured Claims
Number Street ) Part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits of account number ___ _
City _ State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): () Part 1: Creditors with Priority Unsecured Claims
Number Street O Part 2: Creditors with Nonpriority Unsecured
Claims
. Last 4 digits of accountnumber_
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): UJ Part 1: Creditors with Priority Unsecured Claims
Number Street Q) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number ___ _ __
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): (2 Part 1: Creditors with Priority Unsecured Claims
Number Street (J Part 2: Creditors with Nonpriority Unsecured
Claims
- Last 4 digits of accountnumber_
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
Number Street Q) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number ___ __
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
Number Street ) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number ___ ee
City State ZIP Code
Nene On which entry in Part 1 or Part 2 did you list the original creditor?
Line of (Check one): 2 Part 1: Creditors with Priority Unsecured Claims
Number Street
Q) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number ___ _

 

City State ZIP Code

 

 

 

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page__ of 5
Case 19-05823-LA7 Filed 10/15/19 Entered 10/16/19 14:56:51 Doc9 Pg. 23 of 43
Debtor 1 Darren Williams Case number (irinown_19-05823-LA7

First Name Middle Name Last Name

rar Add the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
Add the amounts for each type of unsecured claim.

 

 

 

 

 

 

Total claim
Total claims 6a. Domestic support obligations 6a. $ 0.00
from Part 1 6b. Taxes and certain other debts you owe the
government 6b. $ 0.00
6c. Claims for death or personal injury while you were
intoxicated 6c. $ 0.00
6d. Other. Add all other priority unsecured claims.
Write that amount here. 6d. 4 $ 0.00
6e. Total. Add lines 6a through 6d. 6e.
9 ; 0.00
Total claim
Total claims 6f. Student loans 6f. $ 0.00
from Part 2 6g. Obligations arising out of a separation agreement
or divorce that you did not report as priority
claims 6g. ss Ci
6h. Debts to pension or profit-sharing plans, and other
similar debts 6h. g 0.00
6i. Other. Add all other nonpriority unsecured claims.
Write that amount here. 6. +s 0.00
6}. Total. Add lines 6f through 6i. Gj. 0.00
$ .

 

 

 

 

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page 5 of _5
Case 19-05823-LA7 Filed 10/15/19 Entered 10/16/19 14:56:51 Doc9 Pg. 24o0f 43

Fill in this information to identify your case:

Debtor

Debtor 2

Darren Williams

First Name

Middle Name

Last Name

 

(Spouse If filing) First Name

Middle Name

United States Bankruptcy Court for the, Southern

Case number

{If known)

19-05823-LA7

 

Last Name

District of CA
(State)

CO) Check if this is an
amended filing

 

Official Form 106G

 

Schedule G: Executory Contracts and Unexpired Leases 412/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?
J No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
CJ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

Person or company with whom you have the contract or lease

241

 

State what the contract or lease is for

 

Name

 

Number

Street

 

City

State

ZIP Code

 

2.2:

 

Name

 

Number

Street

 

“ou Sy
2.3

State

ZIP Code

 

Name

 

Number

Street

 

ene diy
24

State

ZIP Code

 

Name

 

Number

Street

 

on... City
25

 

State

ZIP Code

 

- Name

 

Number

Street

 

City

Official Form 106G

State

ZIP Code

Schedule G: Executory Contracts and Unexpired Leases pagelof_
Case 19-05823-LA7 Filed 10/15/19 Entered 10/16/19 14:56:51 Doc9 Pg. 25o0f 43

Fill in this information to identify your case:

Debtor 4 Darren Williams

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Southern District of CA

(State)
Case number _19-05823-LA7

{If known)

 

LJ Check if this is an
amended filing

 

Official Form 106H
Schedule H: Your Codebtors 12115

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married

people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill
it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your
name and case number (if known). Answer every question.

 

 

| 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
4 No
U) Yes

_ 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

L} No. Go to line 3.
Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

Wi No

Q} Yes. In which community state or territory did you live? . Fill in the name and current address of that person.

 

Name of your spouse, former spouse, or legal equivalent

 

Number Street

 

City State ZIP Code

- 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
: shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.
Column 1: Your codebtor Column 2: The creditor to whom you owe the debt
Check all schedules that apply:
3.1
C) Schedule D, line
Name e—————
QL) Schedule E/F, line
Number Street QO) Schedule G, line
City . State ZIP Code
3.2 |
O) Schedule D, line
Name
£} Schedule E/F, line
Number Street QO) Schedule G, line
City State vinnie @lP Code
3.3
(I Schedule D, line
Name eo
() Schedule E/F, tine
Number Street O) Schedule G, line
ZZ
City — ___ State _. ZIP Code .

Official Form 106H Schedule H: Your Codebtors page tof___

 
Case 19-05823-LA7 Filed 10/15/19 Entered 10/16/19 14:56:51 Doc9 Pg. 26 of 43

Fill in this information to identify your case:

Debtor 1 Darren Williams

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Southern District of CA
(State)

Case number _19-05823-LA7 Check if this is:

(lf known)

 

 

(J An amended filing

C) A supplement showing postpetition chapter 13
income as of the following date:

Official Form 1061 MM/DD/ YYYY _

 

Schedule I: Your Income

12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

ea Describe Employment

-1. Fill in your employment
information. Debtor 1

If you have more than one job,

attach a separate page with wf
information about additional Employment status Employed
employers. CJ Not employed

Include part-time, seasonal, or
self-employed work.

Debtor 2 or non-filing spouse

LJ Employed
CJ Not employed

 

 

ti Plumber
Occupation may include student Occupation
or homemaker, if it applies.
Employer’s name Self
Employer's address 1627 Avenida Ladera

 

Number Street

Number Street

 

 

El Cajon, CA 92020
City State ZIP Code

How long employed there? 18yrs

re Give Details About Monthly Income

City State ZIP Code

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing

spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines

below. If you need more space, attach a separate sheet to this form.

For Debtor 2 or
non-filing spouse

 

 

For Debtor 1
| 2. List monthly gross wages, salary, and commissions (before all payroll
deductions). If not paid monthly, caiculate what the monthly wage wouid be. 2. $ 0.00
i 3. Estimate and list monthly overtime pay. 3. +5 0.00
| 4. Calculate gross income. Add line 2 + line 3. 4.|/ $ 1,928.00

 

 

 

 

 

Official Form 106i Schedule |: Your Income

page 1
Case 19-05823-LA7 Filed 10/15/19 Entered 10/16/19 14:56:51 Doc9 Pg. 27 of 43

 

 

 

Debtor 1 Darren Williams Case number (if known) 19-05823-LA7
First Name Middie Name Last Name
For Debtor 1 For Debtor 2 or
Copy line 4 here... eccccccccscescsssecsssessccsssesecsusecersscesssecessesiesesasesessseesaniecssees >4. $1,928.00 $

5. List all payroll deductions:

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

5a. Tax, Medicare, and Social Security deductions 5a. §$ $
5b. Mandatory contributions for retirement plans 5b. § $
5c. Voluntary contributions for retirement plans 5c. $ $
5d. Required repayments of retirement fund loans 5d. §. $
5e. Insurance Se. § $
5f. Domestic support obligations 5f. $ $.
5g. Union dues 5g. $ $
5h. Other deductions. Specify: 5h. +3 + ¢$
. 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e+5f+5g+5h. 6. $ $
7. Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. $ $ 0.00
8. List all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total $ 0.00 $ 0.00
monthly net income. 8a.
8b. Interest and dividends 8b. § 0.00 $ 0.00
8c. Family support payments that you, a non-filing spouse, or a dependent
regularly receive
Include alimony, spousal support, child support, maintenance, divorce $ 0.00 $ 0.00
settlement, and property settlement. 8c.
8d. Unemployment compensation 8d. §. 0.00 $ 0.00
8e. Social Security Be. § 0.00 $ 0.00
8f. Other government assistance that you regularly receive
Include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies.
Specify: aS 0.00 $ 0.00
8g. Pension or retirement income 8g. $ 0.00 $ 0.00
8h. Other monthly income. Specify: 8h. +$ 0.00 +3 0.00
_ 9. Add all other income. Add lines 8a + 8b + &c + 8d + 8e + &f +8g + 8h. 9. | $ 0.00 $ 0.00
10. Calculate monthly income. Add line 7 + line 9. —_ 2
_ Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. 10. $__1,928.00}+ $. 0.00 |= fs 928.00
_11. State all other regular contributions to the expenses that you list in Schedule J.
Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
friends or relatives.
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule v.
Specify: 1. §$ 0.00
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. 1.928.00
"Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies 12. s_ veo
Combined

: monthly income
_ 13.Do,you expect an increase or decrease within the year after you file this form?

No.

 

CJ Yes. Explain:

 

 

 

Official Form 1061 Schedule |: Your Income page 2
Case 19-05823-LA7 Filed 10/15/19 Entered 10/16/19 14:56:51 Doc9 Pg. 28o0f 43

Fill in this information to identify your case:

Darren Williams
Debtor 1 fabs te.
First Name Middle Name Last Name Check if this is:

 

 

Debtor 2 LJ An amended filing

(Spouse, if filing) First Name Middle Name Last Name
CA LA supplement showing postpetition chapter 13
f expenses as of the following date:

United States Bankruptcy Court for the: Southern District o
19-05823-LA7

(State)

Case number
(If known)

MM / DD/ YYYY

 

 

 

Official Form 106J
Schedule J: Your Expenses 1215

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

ae Describe Your Household

1. Is this a joint case?

 

 

2 No. Go to line 2.
LJ Yes. Does Debtor 2 live ina separate household?

L] No
Q) Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

 

 

 

 

 

 

 

2. Do you have dependents? W No . ;
Dependent’s relationship to Dependent’s Does dependent live
Do not list Debtor 1 and LJ Yes. Fill out this information for Debtor 1 or Debtor 2 age with you?
Debtor 2. each dependent..........0......06:
; LC) No
Do not state the dependents Oy
names. es
LJ No
UL} Yes
C) No
UL) Yes
LJ No
LJ Yes
C} No
CJ Yes
3. Do your expenses include W No

expenses of people other than
yourself and your dependents? Q Yes

 

 

re Estimate Your Ongoing Monthly Expenses

 

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the value of

 

such assistance and have included it on Schedule I: Your Income (Official Form 1061.) Your expenses
4. The rental or home ownership expenses for your residence. Include first mortgage payments and 1.754.00
any rent for the ground or lot. 4. $

If not included in tine 4:

4a. Real estate taxes 4a. §$
4b. Property, homeowner's, or renter’s insurance 4b. $
4c. Home maintenance, repair, and upkeep expenses 4c. $
4d. Homeowner's association or condominium dues 4d. $

Official Form 106J Schedule J: Your Expenses page 1
Debtor 1

13.
14.

15.

16.

17.

18.

19.

20.

Case 19-05823-LA7 Filed 10/15/19 Entered 10/16/19 14:56:51 Doc9 Pg. 29 of 43

Darren Williams

First Name Middle Name Last Name

 

. Additional mortgage payments for your residence, such as home equity loans

. Utilities:

6a. Electricity, heat, natural gas
6b. Water, sewer, garbage collection
6c. Telephone, cell phone, Internet, satellite, and cable services

6d. Other. Specify:

 

Food and housekeeping supplies
Childcare and children’s education costs
Clothing, laundry, and dry cleaning
Personal care products and services
Medical and dental expenses

Transportation. Include gas, maintenance, bus or train fare.
Do not include car payments.

Entertainment, clubs, recreation, newspapers, magazines, and books
Charitable contributions and religious donations

Insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance
15b. Health insurance
15c. Vehicle insurance

15d. Other insurance. Specify:

 

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:

 

Installment or lease payments:
17a. Car payments for Vehicle 1
17b. Car payments for Vehicle 2

17c. Other. Specify:

 

17d. Other. Specify:

 

Case number (if known).

Your payments of alimony, maintenance, and support that you did not report as deducted from

your pay on line 5, Schedule |, Your Income (Official Form 106l).

Other payments you make to support others who do not live with you.
Specify:

 

Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

20a. Mortgages on other property

20b. Real estate taxes

20c. Property, homeowner’s, or renter’s insurance
20d. Maintenance, repair, and upkeep expenses

20e. Homeowner's association or condominium dues

Official Form 106J Schedule J: Your Expenses

19-05823-LA7

6a.
6b.
6c.

6d.

10.

41.

12.

13.
14.

15a.
15b.
15c.

15d.

17a.
17b.
17¢.

17d.

19.

20a.

20b.

20c.

20d.

20e.

Your expenses

$

Af Ff Ff FF HF MH

PA HF HF oOo

Pr Ff GF OH

FA FF Ff Hf

 

189.00
160.00

175.00

page 2
Case 19-05823-LA7 Filed 10/15/19 Entered 10/16/19 14:56:51 Doc9 Pg. 300f 43

Darren Williams

First Name Middle Name Last Name

Debtor 1

 

21. Other. Specify:

 

22. Calculate your monthly expenses.
22a. Add lines 4 through 21.
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2

22c. Add line 22a and 22b. The result is your monthly expenses.

23. Calculate your monthly net income.

23a. Copy line 12 (your combined monthly income) from Schedule I.

23b. Copy your monthly expenses from line 22c above.

23c. Subtract your monthly expenses from your monthly income.
The result is your monthly net income.

 

 

 

 

 

19-05823-LA7
Case number (if known)
21. +5
22a. | $ 2,278.00
22b. | ¢
22c. $ 2,278.00
vsat«S 1,928.00
23b. 4g 2,278.00
$ 350.00
23c. OO —

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

2 No.

 

 

 

 

 

 

Cl Yes. _ Explain here:

 

Official Form 106J Schedule J: Your Expenses

page 3

 

 
Case 19-05823-LA7 Filed 10/15/19 Entered 10/16/19 14:56:51 Doc9 Pg. 310f 43

Fill in this information to identify your case:

Debtor 1 Darren Williams

First Name Middle Name Last Name

 

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Southern District of CA

Case number _19-05823-LA7 (State)

(If known) CQ Check if this is an
amended filing

 

 

Official Form 106Dec
Declaration About an Individual Debtor’s Schedules 42115

If two married people are filing together, both are equally responsible for supplying correct information.

 

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

(4 No

L) Yes. Name of person . Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
Signature (Official Form 119).

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and
that they are ind correct.

    

 

Signature of Debtor 2

Date 10/14/2019 Date
MM/ DD / YYYY MM/ DD / YYYY

 

Official Form 106Dec Declaration About an Individual Debtor’s Schedules
Case 19-05823-LA7 Filed 10/15/19 Entered 10/16/19 14:56:51 Doc9 Pg. 32 of 43

Fill in this information to identify your case:

Debtor 1 DARREN WILLIAMS

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: SOUTHERN District of CALIFORNIA

19-05823-LA7
View nt Q Check if this is an
amended filing

 

 

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy 04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

a Give Details About Your Marital Status and Where You Lived Before

 

1. What is your current marital status?

wi Married
CJ Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

Wf No

LJ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 1: Dates Debtor 1 Debtor 2: Dates Debtor 2
lived there lived there
Q Same as Debtor 1 UL) same as Debtor 1
From From
Number Street Number Street
To To
City State ZIP Code City State ZIP Code
L} same as Debtor 1 LJ same as Debtor 1
From From
Number Street Number Street
To To
City State ZIP Code City State ZiP Code

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
States and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

Wf No

C) Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Explain the Sources of Your Income

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 1
Case 19-05823-LA7 Filed 10/15/19 Entered 10/16/19 14:56:51 Doc9 Pg. 33 0f 43

Debtor 1 Darren Williams Case number known 19-05823-LA7

First Name Middle Name Last Name

 

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.
L) No
(A Yes. Fill in the details.

 

Sources of income Gross income Sources of income Gross income
Check all that apply. (before deductions and = Check all that apply. (before deductions and
exclusions) exclusions)

From January 1 of current year until Q wa9e8: commissions. $ 13,300.00 O paaes. commissions, $
the date you filed for bankruptcy: onuses, tps TT onuses, lips

Q Operating a business QO Operating a business
For last calendar year: C} Wages, commissions, | Wages, commissions,

bonuses, tips $ 22,800.00 bonuses, tips $

(January 1 to December 31,____)-« CY Operating a business C) operating a business
For the calendar year before that: Q) Wages, commissions, L Wages, commissions,

bonuses, tips

(January 1 to December 31,2016 __) CJ Operating a business

25,200.00 bonuses, tips
se Q Operating a business $

5. Did you receive any other income during this year or the two previous calendar years?
Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

WW No

LJ Yes. Fill in the details.

 

Sources of income Gross income from Sources of income Gross income from
Describe below. each source Describe below. each source
(before deductions and (before deductions and
exclusions) exclusions)

From January 1 of current year until
the date you filed for bankruptcy:

For last calendar year:

 

 

(January 1 to December 31, )
YYYY

 

For the calendar year before that:

 

(January 1 to December 31, )
YYYY

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 2
Case 19-05823-LA7 Filed 10/15/19 Entered 10/16/19 14:56:51 Doc9 Pg. 34o0f 43

Debtor 1 Darren Williams

 

First Name

Middle Name

Last Name

Case number (known). 19-05823-LA7

 

| Part 3: List Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

CJ No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
“incurred by an individual primarily for a personal, family, or household purpose.”

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

LI No. Go to line 7.

CJ Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as
child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

wi Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

wi No. Go to line 7.

LJ Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
creditor. Do not include payments for domestic support obligations, such as child support and
alimony. Also, do not include payments to an attorney for this bankruptcy case.

Official Form 107

Creditors Name

Dates of Total amount paid Amount you stilf owe
payment :

 

Number

Street

 

 

City

State ZIP Code

 

Creditor’s Name

 

Number

Street

 

 

City

State ZIP Code

 

Creditor’s Name

 

Number

Street

 

 

City

State ZIP Code

Statement of Financial Affairs for Individuals Filing for Bankruptcy

Was this payment for...

Q Mortgage

Q) car

CQ) credit cara

Q) Loan repayment

L) Suppliers or vendors

CI other

| Mortgage

Q) car

C) credit card

UL) Loan repayment

Q Suppliers or vendors

C) other

QQ Mortgage

(3 car

LI credit cara

Ld Loan repayment

) Suppliers or vendors
Cd other

page 3
Case 19-05823-LA7 Filed 10/15/19 Entered 10/16/19 14:56:51 Doc 9 Pg. 35o0f 43

Debtor 1 Darren Williams Case number (rinown 19705823-LA7

 

First Name Middie Name Last Name

 

 

 

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner:
corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing

agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
such as child support and alimony.

W No

CJ Yes. List all payments to an insider.

 

 

 

 

 

Dates of Total amount Amount you still Reason for this payment
payment paid owe
$ $
Insider's Name
Number Street
City State ZIP Code
$. $.

 

Insider's Name

 

Number Street

 

 

City State ZIP Code

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
an insider?

Include payments on debts guaranteed or cosigned by an insider.

W No

L) Yes. List all payments that benefited an insider.

Dates of Total amount Amount you still. Reason for this payment

payment paid owe Include creditor's name

 

Insider's Name $ $

 

 

Number Street

 

 

City State ZIP Code

 

Insider's Name

 

Number Street

 

 

City State ZIP Code

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Debtor 1 Darren Williams Case number drinown_19-05823-LA7

First Name Middle Name Last Name

 

iz Identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?

List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
and contract disputes.

Wf No

LI} Yes. Fill in the details.

 

 

 

 

 

 

 

 

Nature of the case Court or agency Status of the case
Case title Gout Name CI Pending
QC) on appeal
Number Street Q Concluded
Case number
City State ZIP Code
Case title Coun Name C) Pending
LJ on appeal
Number Street C) Concluded
Case number
City State ZIP Code

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check all that apply and fill in the details below.

w No. Go to line 11.
Cl Yes. Fill in the information below.

Describe the property Date Value of the property

 

Creditors Name

 

Number Street Explain what happened

LJ Property was repossessed.

LJ Property was foreclosed.

L) Property was garnished.

City State ZIP Code L) Property was attached, seized, or levied.

 

 

Describe the property Date Value of the property

 

Creditor’s Name

 

Number Street
Expiain what happened

Property was repossessed.

 

Property was foreclosed.

 

Tay Sige DP Sous Property was garnished.

OUOCO

Property was attached, seized, or levied.

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Debtor 1 Darren Williams Case number ¢inown_19-05823-LA7

 

 

First Name Middle Name Last Name

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

WZ No

LI Yes. Fill in the details.

 

 

 

 

 

Describe the action the creditor took Date action Amount
was taken
Creditor’s Name
$
Number Street
City State ZIP Code Last 4 digits of account number: XXXX-

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another official?

| No
LJ Yes

Be List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

Wi No

C) Yes. Fill in the details for each gift.

 

 

 

 

 

 

Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts
$
Person to Whom You Gave the Gift
$
Number Street
City State ZIP Code
Person’s relationship to you
Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts
$
Person to Whom You Gave the Gift
$

 

 

Number Street

 

City State ZIP Code

Person’s relationship to you

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 6
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Debtor 1 Darren Williams Case number (if known) 19-05823-LA7

First Name Middle Name Last Name

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

Q No

UJ Yes. Fill in the details for each gift or contribution.

 

Gifts or contributions to charities Describe what you contributed Date you Value
that total more than $600 contributed
— $.
Charity’s Name

 

 

Number Street

 

City State ZIP Code

| Parte: List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
disaster, or gambling?

Wi No

LJ Yes. Fill in the details.

Describe the property you lost and Describe any insurance coverage for the loss Date of your Value of property
how the loss occurred ; oo. a loss lost
Include the amount that insurance has paid. List pending insurance
claims on line 33 of Schedule A/B: Property.
$

List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?

Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

J No

LI Yes. Fill in the details.

 

 

 

Description and value of any property transferred Date payment or Amount of payment
transfer was
Person Who Was Paid . made
Number Street $
$

 

City State ZIP Code

 

Email or website address

 

 

Person Who Made the Payment, if Not You

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 7

 
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Debtor 4 Darren Williams Case number trknown 19-05823-LA7

First Name Middie Name Last Name

 

 

 

Description and value of any property transferred Date payment or Amount of
transfer was made payment

 

Person Who Was Paid

 

Number Street

 

 

City State ZIP Code

 

Email or website address

 

Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

Wf No

LJ Yes. Fill in the details.

 

 

 

Description and value of any property transferred Date payment or Amount of payment
transfer was
made
Person Who Was Paid
Number Street $
$

 

 

 

City State ZIP Code

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
Do not include gifts and transfers that you have already listed on this statement.
wt No
L) Yes. Fill in the details.

Description and value of property Describe any property or payments received Date transfer
transferred or debts paid in exchange was made

 

Person Who Received Transfer

 

Number Street

 

 

City State ZIP Code

Person’s relationship to you

 

Person Who Received Transfer

 

Number Street

 

 

City State ZIP Code

Person’s relationship to you

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 8
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Debtor 1 Darren Williams Case number (rinown_ 19-05823-LA7

First Name Middle Name Last Name

 

 

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
are a beneficiary? (These are often called asset-protection devices.)

4 No

LI Yes. Fill in the details.

Description and value of the property transferred Date transfer
was made

Name of trust

 

 

List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

 

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
closed, sold, moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

WZ No

C) Yes. Fill in the details.

 

 

Last 4 digits of account number Type of account or Date account was Last balance before
instrument closed, sold, moved, __ closing or transfer
or transferred
Name of Financial Institution
XXXX— QO Checking $
Number Street O Savings

OQ Money market

 

OQ Brokerage

 

 

 

City State ZIP Code OQ Other
XXXX—= C2) checking $
Name of Financial Institution TO
QO Savings
Number Street QO Money market

 

QO Brokerage
CD other

 

City State ZIP Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
securities, cash, or other valuables?

Wi No

C) Yes. Fill in the detaits.

 

 

Who else had access to it? Describe the contents Do you still
have it?
C} No
Name of Financial Institution Name QO) Yes

 

 

Number Street Number Street

 

 

City State ZIP Code

 

City State ZIP Code

 

 

 

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Debtor 1 Darren Williams Case number ¢rinown 19-05823-LA7

First Name Middle Name Last Name

 

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
No
C) Yes. Fill in the details.

 

 

Who else has or had access to it? Describe the contents Do you still
have it?
CI No
Name of Storage Facility Name O Yes
Number Street Number Street

 

CityState ZIP Code

 

City State ZIP Code

| Part 9: | identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
or hold in trust for someone.
No
CQ) Yes. Fill in the details.

Where is the property? Describe the property Value

 

Owner’s Name $

 

Number Street

 

Number Street

 

 

 

City State ZIP Code

 

City State ZIP Code

Ec Give Detalis About Environmental Information

 

 

For the purpose of Part 10, the following definitions apply:

a Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or material.

& Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

&% Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24,Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

Wi No

CQ) Yes. Fill in the details.

 

 

 

Governmental unit Environmental law, if you know it Date of notice
Name of site Governmental unit
Number Street Number Street
City State ZIP Code

 

 

City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 10
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Debtor 1 Darren Williams

First Name Middle Name

Case number (known), 19-05823-LA7

Last Name

25.Have you notified any governmental unit of any release of hazardous material?

Wi No

C) Yes. Fill in the details.

Governmental unit Environmental law, if you know it Date of notice

 

Name of site

Governmental unit

 

Number Street

 

Number Street

 

City State ZIP Code

 

City State

ZIP Code

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

Wi No

Q] Yes. Fill in the details.

Case title

 

 

 

 

Case number

 

Court or agency Nature of the case Status of the
case

Court Name Q Pending
Oi on appeal

Number Street O Concluded

City State ZIP Code

| Part 14: | Give Detalls About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
QQ) Asole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
C) A member of a limited liability company (LLC) or limited liability partnership (LLP)
Qlha partner in a partnership
Q) An officer, director, or managing executive of a corporation

(J An owner of at least 5% of the voting or equity securities of a corporation

wi No. None of the above applies. Go to Part 12.
CJ Yes. Check all that apply above and fill in the details below for each business.

Describe the nature of the business Employer Identification number
Do not include Social Security number or ITIN.

 

Business Name

EIN: -

 

Number Street

Name of accountant or bookkeeper Dates business existed

 

. From To

 

City State

 

Business Name

 

Number Street

 

 

City State

 

Official Form 107

ZIP Code
Describe the nature of the business Employer Identification number
Do not include Social Security number or ITIN.
EIN:
Name of accountant or bookkeeper Dates business existed
From To
ZIP Code

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Debtor 1 Darren Williams Case number (known 19-05823-LA7

First Name Middle Name Last Name

 

Employer Identification number
Do not include Social Security number or ITIN.

Describe the nature of the business

 

Business Name

 

 

EIN; em
Number Street Name of accountant or bookkeeper Dates business existed
From __—s—s—“‘éi‘'‘[?

 

City State ZIP Code

 

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
institutions, creditors, or other parties.

OQ) No
CL) Yes. Fill in the details below.

Date issued

 

Name MM/DD/YYYY

 

Number Street

 

 

City State ZIP Code

| have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the
answers are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud
in connectio! bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 41, 1519, and 3571.

 

 
 
     
 
   
    

  

DARPEW WILli,

 

Signature of Debtor 1 g Signature of Debtor 2

Date 10/14/2019 Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

wi No
CQ Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
wa No

LJ Yes. Name of person . Attach the Bankruptcy Petition Preparer’s Notice,
Declaration, and Signature (Official Form 119).

 

 

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 12
